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                          UNITED STATES BANKRUPTCY COURT
                               DISTRICT OF NEW JERSEY


 In re:                                         Case No. 24-22278 (VFP)

SBB Shipping USA, Inc,
                                                Chapter 11
                                      Debtor.
                                                Hon. Judge Vincent F. Papalia




                NOTICE OF TELEPHONIC MEETING OF CREDITORS

TO: All Parties-in-Interest

PLEASE TAKE NOTICE that the Meeting of Creditors for the captioned debtor, SBB

Shipping USA, Inc., has been scheduled for Wednesday, January 22, 2025 at 10:00 AM.

All parties who wish to participate can join telephonically.


          Call in Number: +1 929-229-5442
          Meeting ID: 300 094 867#


YOUR PARTICIPATION IS WELCOMED, BUT NOT REQUIRED.


                                                  SCURA, WIGFIELD, HEYER,
                                                  STEVENS & CAMMAROTA, LLP
                                                  Attorneys for Debtor


Dated: December 26, 2024                          /s/ David L. Stevens
                                                  David L. Stevens, Esq.
